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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         J. DOES 1-26,

                      Plaintiffs-Appellees,

                            v.
                                                                        No. 25-1273
         ELON MUSK, in his official capacity; UNITED
         STATES DOGE SERVICE; DEPARTMENT
         OF GOVERNMENT EFFICIENCY,

                      Defendants-Appellants.


         MOTION TO VACATE BREIFING SCHEDULE AND HOLD APPEAL IN
          ABEYANCE, OR ALTERNATIVELY, TO EXTEND THE BRIEFING
                               DEADLINE

              Pursuant to Fourth Circuit Rule 12(d), the government respectfully requests

        that the Court vacate the briefing schedule and hold this appeal in abeyance, pending

        resolution of the government’s motion to dismiss in district court. Alternatively, the

        government moves for a 45-day extension of time, to and including July 28, 2025,

        in which to file the opening brief in this appeal. This motion is opposed.

              1. Plaintiffs in this case are current and former employees and contractors for

        the U.S. Agency for International Development (USAID) who seek to challenge a

        range of actions being taken with respect to USAID. Plaintiffs sued Elon Musk, in

        his official capacity; the U.S. Department of Government Efficiency Service

        (DOGE); and certain other persons acting at their direction. On March 18, 2025, the
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        district court issued a multi-part, preliminary injunction that applied to the

        defendants as well as to USAID employees who previously worked on USAID’s

        DOGE team. The district court subsequently denied a motion to clarify or modify

        the injunction.

              The government appealed the preliminary injunction. The Court issued a

        briefing schedule upon docketing the appeal under which the government’s opening

        brief was due April 30, 2025. The government sought an unopposed 44-day

        extension of time to file the brief, and this Court granted the government’s motion

        on April 18, 2025. The government’s opening brief is currently due June 13, 2025.

              2. The government’s first extension motion noted that there had been several

        pertinent developments since this appeal was docketed. On March 28, 2025, a

        unanimous panel of this Court stayed the preliminary injunction, emphasizing that

        plaintiffs failed to sue the proper defendants, including USAID, and failed to

        establish irreparable harm. Dkt. 88. On April 17, 2025, plaintiffs amended their

        complaint to add new defendants, including USAID and others, as well as to add

        new plaintiffs, revise their factual allegations, and drop 23 of the original 26

        plaintiffs. Dkt. 93. Plaintiffs also refocused their theory of injury, alleging harms

        from “(1) unauthorized access to or disclosure of their private data by Defendants,

        (2) interruptions to the ordinary course of their employment, (3) reputational harm,

        and (4) other dignitary harm.” Id. at 5-6. Plaintiffs further notified the district court


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        of their intention to seek class certification and discovery. Dkt. 91.

              There have been additional developments since this Court granted the

        government’s first extension motion. On May 1, 2025, the government filed a

        motion to dismiss. Dkt. 110. Among other things, the government raised several

        threshold arguments that the district court did not decide during preliminary

        injunction proceedings.     The government argued that the district court lacks

        jurisdiction over plaintiffs’ claims because mandatory statutory frameworks, such as

        the Civil Service Reform Act (CSRA), require plaintiffs to bring those claims to the

        appropriate administrative forum before seeking judicial review. Id. at 6-16. The

        government also argued that plaintiffs lack Article III standing. Id. at 17-20. The

        government further argued that plaintiffs’ claims raise claim-splitting concerns

        given that “[i]dentical claims based on the same facts are already pending in other

        courts.” Id. at 20-21. On May 15, 2025, plaintiffs filed their opposition to the motion

        to dismiss. Dkt. 121.

              Additionally, there have been further developments with respect to class

        certification and discovery. On May 1, 2025, plaintiffs moved to certify a class of

        USAID employees and personal services contractors. Dkt. 111. On May 15, 2025,

        the government filed its opposition. Dkt. 120. Plaintiffs also moved for expedited

        discovery, Dkt. 106, and the district court denied that motion on May 27, 2025, for

        lack of good cause. Dkt. 124 at 5-10.


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              3. The government respectfully requests to place this appeal in abeyance

        pending the district court’s resolution of the government’s motion to dismiss. That

        motion presents numerous issues that could obviate the need for this appeal and

        therefore conserve the resources of this Court and the parties.

              In particular, the government has presented several independent and threshold

        bases to dismiss plaintiffs’ amended complaint. The government has argued that

        plaintiffs’ claims are all subject to mandatory statutory frameworks and present

        claim-splitting concerns; these arguments were not presented during preliminary

        injunction proceedings, and the district court did not address them. As the district

        court noted in denying expedited discovery, the government’s arguments raise “at

        least a possibility that these claims may be dismissed.” Dkt. 124 at 9. The

        government “raise[d], at a minimum, colorable arguments that where Plaintiffs are

        USAID employees and contractors, their claims against USAID, its officials, and

        related agencies and their officials may be precluded from judicial review” by those

        statutory frameworks, “which are arguments that have not yet been litigated in this

        case and that other courts have adopted in similar cases.” Id. at 8-9. Additionally,

        as noted, the government has argued that plaintiffs lack Article III standing based on

        their alleged injuries. While the district court evaluated plaintiffs’ standing when it

        issued the preliminary injunction, it did not decide whether several of plaintiffs’

        alleged harms constitute injuries in fact. Dkt. 73 at 18-19. Furthermore, the district


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        court has not yet evaluated whether any of plaintiffs’ numerous changes to their

        complaint affect the merits of their claims.

              The district court’s resolution of these issues could obviate the need for this

        Court to decide the present appeal at all, regardless of whether the district court

        grants or denies the government’s motion to dismiss. If the court grants the motion,

        plaintiffs may pursue an appeal in which this Court would be asked to decide

        threshold issues, such as CSRA preclusion, with the benefit of a district court

        decision on those issues.      Alternatively, if the court denies the motion, the

        government may pursue an interlocutory appeal, including with respect to CSRA

        preclusion. This Court ultimately may decide to hold the present appeal in abeyance

        pending resolution of an appeal arising from the motion to dismiss.

              Because the government’s motion to dismiss is directed at plaintiffs’ amended

        complaint, an appeal arising from that motion would present a far better vehicle for

        this Court to resolve the underlying legal issues in this case. The stay panel

        unanimously emphasized that in the complaint underlying the order on appeal here,

        plaintiffs failed to name the proper defendants, namely, USAID or any USAID

        official. Dkt. 88 at 6-7. The present injunction is directed solely to the original

        defendants who did not cause and cannot redress plaintiffs’ alleged injuries. The

        district court, however, lacks jurisdiction to substantively modify that injunction

        while this case is on appeal, and thus, the validity of a hypothetical injunction against


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        the proper defendants is not at issue in this appeal. See Lytle v. Griffith, 240 F.3d

        404, 407 n.2 (4th Cir. 2001). It would disserve judicial economy to expend resources

        on this appeal, to litigate the validity of an injunction directed only to the original

        defendants, when plaintiffs already have amended their complaint to add relevant

        defendants. This Court can avoid the need for such a decision by holding this appeal

        in abeyance while the district court resolves the government’s motion to dismiss, at

        which point it likely will have the opportunity to evaluate the parties’ legal

        arguments in an appeal involving the additional defendants plaintiffs have now

        named. Moreover, if this Court waits for the district court to resolve the motion to

        dismiss, it would have the benefit of the district court’s decision on multiple

        important jurisdictional issues, which otherwise this Court would have to decide in

        the first instance. This Court’s ultimate resolution of the government’s threshold

        arguments may avoid any need to decide the merits of plaintiffs’ constitutional

        claims. And to the extent this Court’s review is based on an outdated record,

        adjudicating this preliminary injunction appeal risks being advisory.

              4. Alternatively, the government respectfully requests a 45-day extension of

        time to file its opening brief in this pending appeal of the preliminary injunction, to

        and including July 28, 2025. As discussed, recent developments and ongoing

        proceedings in district court may affect the issues presented in this appeal and could

        obviate the need for this Court to decide the merits of some or all of those issues. In


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        addition, the requested extension is necessary to ensure adequate time to prepare and

        file any brief. Undersigned counsel have long-scheduled travel and a number of

        other deadlines including internal or otherwise non-public deadlines related to

        pending matters, see, e.g., Veltor Underground, LLC v. SBA, No. 24-2025 (6th Cir.)

        (oral argument scheduled for June 12) (Jed); Oak Lawn Respiratory & Rehab. Ctr.

        v. SBA, Nos. 25-1346, 25-1347, 25-1348 (7th Cir.) (responsive brief due June 20, as

        extended) (Jed); Shop Rite v. SBA, No. 25-3008 (5th Cir.) (responsive brief due June

        23, as extended) (Jed); New York v. Trump, Nos. 23-5103, 24-5047 (D.C. Cir.) (reply

        brief due June 24) (Jed); Tidewater Finance Co. v. SBA, No. 25-1446 (4th Cir.)

        (responsive brief due July 7) (Jed); Essintial Enterprise Solutions v. SBA, No. 25-

        1367 (3d Cir.) (reply brief due July 11) (Jed); Bergdahl v. United States, Nos. 24-

        5150, 24-5154 (D.C. Cir.) (reply brief due June 6) (Patterson); Peralta-Adamez v.

        Adan, No. 25-1293 (1st Cir.) (responsive brief due July 11) (Patterson); Jordan v.

        Federal Bureau of Prisons, No. 23-15373 (9th Cir.) (responsive brief due August

        22) (Patterson); Abdulrazzaq v. Trump, No. 25-5071 (D.C. Cir.) (opening brief due

        June 23) (Barmore).

              5.   Counsel for plaintiffs-appellees have indicated that they oppose the

        abeyance and requested extension.




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                                          CONCLUSION

              For the foregoing reasons, the Court should vacate the briefing schedule and

        hold this appeal in abeyance, pending resolution of the government’s motion to

        dismiss in district court. Alternatively, the Court should extend the deadline to file

        the government’s opening brief by 45 days, to and including July 28, 2025.




                                                   Respectfully submitted,

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         MAY 2025




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                             CERTIFICATE OF COMPLIANCE

              I hereby certify that this document complies with the word limit of Federal

        Rule of Appellate Procedure 27(d) because it has been prepared in 14-word Times

        New Roman, a proportionally spaced font, and it contains 1,615 words according to

        the count of Microsoft Word.



                                                     /s/ Cynthia Barmore
                                                    CYNTHIA BARMORE
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                                   CERTIFICATE OF SERVICE

              I hereby certify that on May 27, 2025, I filed and served the foregoing by

        causing a copy to be electronically filed with the Clerk of Court via the appellate

        CM/ECF system.


                                                      /s/ Cynthia Barmore
                                                     CYNTHIA BARMORE
